     Case 1:14-cr-00226-DAD-BAM Document 85 Filed 10/13/16 Page 1 of 2

                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
 1   MARK W. COLEMAN #117306
     NUTTALL & COLEMAN
 2   2333 MERCED STREET
     FRESNO, CALIFORNIA 93721
 3   PHONE (559) 233-2900
     FAX (559) 485-3852
     mark@nuttallcoleman.com
 4

 5
     ATTORNEYS FOR Defendant,
 6                   JOSEPH MAR

 7

 8                                UNITED STATES DISTRICT COUNT
 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                        Case No: 1:14-CR-00226–DAD-BAM (04)
11
                    Plaintiffs,
12                                                            WAIVER OF APPEARANCE
13          v.                                                        AND
                                                                [PROPOSED] ORDER
14   JOSEPH MAR,

15                  Defendants.

16

17   TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S
18          OFFICE and/or ITS REPRESENTATIVES:
19
            Defendant, JOSEPH MAR, by and through his attorney MARK W. COLEMAN, of
20
     NUTTALL & COLEMAN, hereby applies to this court for an Order waiving his appearance at
21
     the Status Conference currently set for October 24, 2016 at 1:00 p.m., before Magistrate Judge
22
     Barbara A. McAuliffe.
23
            The reason for this request is that Mr. Mar lives in Ceres, California, and does not have
24
     sufficient available paid time off with his employer, and in order to come to court he would
25
     have to take a full day off work.
26

27

28
                                                  1
     Case 1:14-cr-00226-DAD-BAM Document 85 Filed 10/13/16 Page 2 of 2


 1          It is not anticipated that anything dispositive will occur on October 24, 2016, other than

 2   the case being set for Trial, which has been discussed with Mr. Mar.
 3          Mr. Mar has been in continued contact with his attorney, and gives his attorney full
 4   power to act on his behalf. The matter of the Status Conference has been discussed and Mr.
 5
     Mar is satisfied that all relative matters have been adequately discussed.
 6
            It is hereby requested that Joseph Mar’s appearance at the hearing on October 24, 2016,
 7
     at 1:00 p.m. be excused.
 8
     DATED: October 12, 2016. Respectfully submitted,
 9
                                           NUTTALL & COLEMAN
10
                                           /s/ Mark W. Coleman
11
                                           MARK W. COLEMAN
12
                                           Attorney for Defendant,
13                                         JOSEPH MAR

14
                                                 ******
15
                                          [PROPOSED] ORDER
16
            GOOD CAUSE APPEARING,
17
            IT IS HEREBY ORDERED that Defendant, Joseph Mar, is hereby excused from
18
     appearing at the Status Conference currently scheduled for October 24, 2016, at 1:00 p.m.
19

20

21   IT IS SO ORDERED.

22      Dated:     October 13, 2016                           /s/ Barbara A. McAuliffe             _
23                                                        UNITED STATES MAGISTRATE JUDGE

24

25

26

27

28
                                                      2
